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BRITISH
COLUMBIA

10,700-20/Oregon/USA
May 8, 2023

Ms. L. Celeste Ingalls
Crowe Foreign Services
733 SW Vista Avenue
Portland Oregon 97205
USA

Dear Ms. L. Celeste Ingalls:

File Number 2023-126

Re: Service of Documents Pursuant to the Hague Convention on the Service Abroad of Judicial or
Extra-Judicial Documents in Civil or Commercial Matters -
Wondershare Technology Group Co. Ltd. (agent, officer or authorized representative),
200 - 4445 Lougheed Hwy., Burnaby, BC V5C 0E4 Canada

The above-referenced documents have been served upon Wondershare Technology Group Co. Ltd.
(agent, officer or authorized representative), as requested pursuant to the terms and conditions of the
Hague Convention on the Service Abroad of Judicial or Extra-Judicial Documents in Civil or

Commercial Matters.

The completed Certificate is enclosed along with supporting documents.

Also enclosed is a receipt in the amount of $100.00.

Thank you.

Yours truly,

~~,

Central Authority Administrator

Enclosures

Page 1 of 1

 

Ministry of Attorney Legal Services Branch
General Order in Council Administration

Mailing Address:
PO Box 9280 STN PROV GOVT
Victoria BC V8W 9J7

Telephone: (250) 387-0724

Location:
1001 Douglas Street
Victoria, BC V8W 2C5

Facsimile: N/A
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The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
L’autorité soussignée a I'honneur d’attester conformément a l'article 6 de ladite Convention,

1. that the document has been served*
que la demande a été exécutée*

 

 

 

— the (date) / le (date): May 2nd, 2023
— at (place, street, number): 200 - 4445 Lougheed Highway, Burnaby, BC,
a (localite, rue, numéro): _ Canada

 

— in one of the following methods authorised by Article 5:
dans une des formes suivantes prévues a l'article 5 :
CL] a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
Article 5 of the Convention*
selon les formes légales (article 5, alinéa premier, lettre a))*

 

 

b) in accordance with the following particular method": Personal Service
selon la forme particuliére suivante* :

 

C1 |? by delivery to the addressee, if he accepts it voluntarily”
_par remise simple*

 

 

 

The documents referred to in the request have been delivered to:
Les documents mentionnés dans la demande ont été remis a :

 

“Identity and description of person: LIU, Tongzhou; DOB: 1987-May-21; Asian
Identité et qualité de la personne : male, identified via BCDL 0290930; approx.
7OKG, 183CM, brown eyes, black hair.

 

ionship to the add family,
miinase ol othen). Rese PHY Manager of Wondershare Technology Group

Liens de parenté, de subordination ou autres, avec le Co. Ltd.
destinataire de l’acte :

 

[(_] 2.that the document has not been served, by reason of the following facts*:
que la demande n'a pas été exécutée, en raison des faits suivants*:

 

 

 

 

Cc In conformity with the second paragraph of Article 12 of the Convention, the applicant is
requested to pay or reimburse the expenses detailed in the attached statement*.
Conformément a l'article 12, alinéa 2, de ladite Convention, le requérant est prié de payer ou de rembourser les frais
dont le détail figure au mémoire ci-joint*.

Annexes / Annexes

 

Documents returned:
Piéces renvoyées =

 

In appropriate cases, documents establishing

 

 

 

 

 

the service:
Le cas échéant, les documents justificatifs de
l'execution :
* if appropriate / s'il y a lieu
Done at / Fait a Signature and/or stamp whey Vahld Abothastant
Signature et/oucachet 4526. Deputy shen
Vancouver, BC, CANADA ° DS) reno
The /le VA sore ag dancer 80 VEE 1S
2nd of May, 2023 SHERIEE oe

 

 

 

 

 

 

Permanent Bureau July 2017
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Uo UAH B
To) a} 4: AVh (el WV :1:1oy-V oo) aw Up) con e-V ame)

> Gay wel pi cen y-Vegerere ti iia, ak
Bye PNNID =U) aad INI) eee Kr WO) OUND) =m Onn ia Cer Up CO) Wed MINN el=15
YU] Nets =e Ub) (Ot N= O LUM =) GNy-810]B) (OE N Lan

 

| Convention on the Service Abroad of Judicial and Extrajudicial Documents in
Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
Convention rylative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
| matiére civile ou commerciale, signée a La Haye le 15 novembre 1965.

“Identity and address of the applicant _ Address of receiving authority

Idantité et adresse du requérant | Adresse de \‘autorité destinataire

L. Celeste Ingalls Central Authority Administrator

733 SW Vista Avenue Mintstry of Justice/ Order in Council
Portland, Oregon 97205 1001 Douglas Street

USA Victoria, British Columbia

Email: Lci@foreignservices.com Canada V8W 2C5

_T (250) 387-4376 F (250) 387-4349

 

below and, in conformity with Article 5 of the above-mentioned Convention, requests prompt
service of one copy thereof on the addressee, i.e.:

Le requérant soussigné a I'honneur de faire parvenir — en double exemplaire — 4 |'autorite destinataire les
documents ci-dessous énumérés, en la priant, conformément a l'article 5 de la Convention précitée, d'en faire
remettre sans retard un exemplaire au destinataire, a savoir : |

| .
Crowe Foreign Services Service for Hague Convention
1
|
|
The undersigned applicant has the honour to transmit — in duplicate - the documents listed |

{identity and address)

(identité et adresse)

Wondershare Technology Group Co. Ltd. |
200-4445 Lougheed Hwy, Burnaby, BC Canada, V5C 0E4

 

= __|

& 4 ‘Inaccordance with the provisions of sub-paragraph a) of the first paragraph of
Article 5 of the Convention’
selon les formes légales (artcle 5, alinéa premier, lettre 4))" ee _
4) _~=«Oin accordance with the following particular method (sub-paragraph 5) of the first
| paragraph of Article 5)*:
selon la forme particuliére suivante (article 5, alinéa premier, lettre b)° :

 

C | ¢) by delivery to the addressee, If he accepts it voluntarily (second paragraph of
| Article 5)*
le cas échéant, par remise simple (article 5, alinéa 2)*

The authority is requested to return or to have returned to the applicant a copy of the documents -
and of the annexes* - with the attached certificate.

Cette autorité est priée de renvoyer ou de faire renvoyer au requérant un exemplaire de l'acte - et de ses annexes* -
avec l'attestation ci-jointe.

 

List of documents / Enumération des piéces

 

Hague “Summary’ with Warning Page

Summons tn a Clvil Action

Complaint for Federal Trademark Infringement

Civil Cover Sheet

Notice to Counsel

Statement of Consent to Proceed Before a US Magistrate Judge
Civil Minutes: Assignment of Case |

 

« CaseNo. 2:23-cv-2481-AS

if appropriate silly atieu

 

Done at / Fait a Portland, Oregon USA, Signature and/or stamp

Signature et / ou cachet |
The tle W)B-OY-I Yi
Bim OFFICIAL STAMP Q

 

  
  

LYLE CELESTE INGALLS

 

es AR B -OR
gst COMMISSION NO. 1021981
MY COMMISSION EXPIRES FEB. 21, 2026

 

 

 

 

Permanent Bureau July 2017

 
